                       Case 1:22-mj-00022-JCN Document 23 Filed 02/22/22 Page 1 of 1   PageID #: 37

                                            UNITED STATES DISTRICT COURT
                                                  DISTRICT OF MAINE
      CASE NAME: USA v. XAVIER PELKEY

      DOCKET NO: 1:22-mj-00022-JCN

      PROCEEDING TYPE: Detention Hearing

                                                      Exhibit List
Gvt   Dft   Court
                                                                                         Date           Date             Date
Exh   Exh    Exh                               Description                                                        Obj
                                                                                       Mentioned       Offered          Admitted
No.   No.    No.
 1                                          Sealed Declaration                         2/22/2022      2/22/2022         2/22/2022
